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     KRISTEN CLARKE                                 GARY M. RESTAINO
 1
     Assistant Attorney General                     United States Attorney
 2   Civil Rights Division                          District of Arizona
 3   ELISE C. BODDIE
 4   Principal Deputy Assistant Attorney General
     Civil Rights Division
 5
     T. CHRISTIAN HERREN, JR. (AL Bar No. ASB6671R63T)
 6
     RICHARD A. DELLHEIM (NY Bar No. 2564177)
 7   EMILY R. BRAILEY (DC Bar No. 1684650)
     JENNIFER J. YUN (DC Bar No. 1600953)
 8   Attorneys, Voting Section
 9   Civil Rights Division
     U.S. Department of Justice
10   4CON – Room 8.1815
     950 Pennsylvania Avenue, NW
11
     Washington, DC 20530
12
     Tel.: (202) 353-5724 / Fax: (202) 307-3961
13   Email: Chris.Herren@usdoj.gov
14   Richard.Dellheim@usdoj.gov
     Emily.Brailey@usdoj.gov
15   Jennifer.Yun@usdoj.gov
     Attorneys for the United States
16
17                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA
18
19
     Mi Familia Vota, et al.,
20                        Plaintiffs,               No. 2:22-cv-00509-SRB (Lead Case)
                                                    No. 2:22-cv-01124-SRB (Consolidated)
21          v.
22                                                  United States’ Response to Motion to
     Adrian Fontes, et. al.,                        Intervene
                           Defendants.


     Living United for Change in Arizona, et al.,
                         Plaintiffs,

            v.
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 1
     Adrian Fontes,
 2                           Defendant,

 3   and

 4   State of Arizona, et al.,
                           Intervenor-Defendants.
 5

 6   Poder Latinx, et al.,
                             Plaintiffs,
 7
     v.
 8
     Adrian Fontes, et al.
 9                           Defendants.

10
     United States of America,
11                      Plaintiff,

12          v.

13   State of Arizona, et al.,
                           Defendants.
14

15   Democratic National Committee, et al.,
                        Plaintiffs,
16
            v.
17
     Adrian Fontes, et al.,
18                         Defendants,

19          and

20   Republican National Committee,
                        Intervenor-Defendant.
21

22
      Case 2:22-cv-00509-SRB Document 355 Filed 04/18/23 Page 3 of 6




 1
     Arizona Asian American Native Hawaiian
 2   and Pacific Islander for Equity Coalition,
                          Plaintiff,
 3
            v.
 4
     Adrian Fontes, et al.,
 5                         Defendants.

 6
     Promise Arizona, et al.,
 7                       Plaintiffs,

 8          v.

 9   Adrian Fontes, et al.,
                           Defendants.
10

11   Tohono O’odham Nation, et al.,

12          v.

13   Kris Mayes, et al.,
                           Defendants.
14

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      Case 2:22-cv-00509-SRB Document 355 Filed 04/18/23 Page 4 of 6




 1             UNITED STATES’ RESPONSE TO MOTION TO INTERVENE

 2          The United States does not oppose the April 4, 2023 motion to intervene by the

 3   Arizona Speaker of the House and the Arizona President of the Senate (the

 4   “Legislature”), to the extent it seeks permissive intervention. See Mot. at 11-12, ECF No.

 5   348.

 6          Arizona enacted H.B. 2492 in March 2022 and H.B. 2243 in July 2022. The

 7   United States and seven other groups sued the State and various officials to enjoin

 8   enforcement of certain provisions of these state laws. The State responded to the lawsuits

 9   by noting its intention to defend the challenged laws. See, e.g., Letter from Mark

10   Brnovich to Kristen Clarke (July 1, 2022), https://perma.cc/SRP3-PYRB. Attorney

11   General Kris Mayes took office in January 2023, Mot. at 5, ECF No. 348, and has

12   continued to litigate the matter.

13          On February 16, 2023, this Court denied the State Defendants’ motion to dismiss

14   the United States’ claims, including those brought under Section 6 of the National Voter

15   Registration Act (NVRA), 52 U.S.C. § 20505(a). ECF No. 304.

16          On April 17, 2023, the Arizona Attorney General’s Office sent a letter to counsel

17   for all parties in this consolidated litigation to provide “some clarity” regarding the

18   Attorney General’s “positions with respect to the claims and defenses asserted in this

19   litigation.” See Ex. A, Letter from Hayleigh S. Crawford, Deputy Solicitor General, Off.

20   of the Ariz. Att’y Gen., to All Counsel for All Parties (April 17, 2023). For example, the

21   letter indicates that the Attorney General “does not intend to continue asserting as a

22   defense to Plaintiffs’ claims that Congress lacks the power to regulate presidential

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      Case 2:22-cv-00509-SRB Document 355 Filed 04/18/23 Page 5 of 6




 1   elections” since “[t]hat defense is foreclosed by binding authority.” Id. As such, the

 2   letter indicated that “the State acknowledges that to the extent H.B. 2492 conditions

 3   acceptance of the federal mail voter registration form for presidential election registration

 4   on documentary proof of citizenship, it is preempted by the federal requirement that

 5   States ‘accept and use’ the federal form” under the NVRA. Id. The letter advises that

 6   “[t]he State further acknowledges that this ‘accept and use’ requirement under federal law

 7   likewise preempts H.B. 2492 to the extent it conditions acceptance of the federal mail

 8   voter registration form for federal election registration on documentary proof of

 9   residence.” Id. The letter also notes that the Attorney General has “serious concerns

10   about the legality of conditioning access to early ballots for federal elections on the

11   provision of documentary proof of citizenship,” and that the Office “is continuing to

12   evaluate the defensibility of this provision of H.B. 2492.” Id. Aside from certain issues,

13   the letter indicates that the Attorney General “otherwise generally intends to continue

14   defending H.B. 2492 and H.B. 2243.” Id.

15          In light of the Arizona Attorney General’s April 17 representations, the United

16   States does not oppose the Legislature’s motion to intervene permissively under Rule

17   24(b). See Mot. at 11-12, ECF No. 348. Accordingly, the United States respectfully

18   suggests that the Court need not reach the Legislature’s arguments regarding intervention

19   as of right under Rule 24(a).

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 1   Date:         April 18, 2023

 2                                              Respectfully submitted,

 3   GARY M. RESTAINO                           KRISTEN CLARKE
     United States Attorney                     Assistant Attorney General
 4   District of Arizona                        Civil Rights Division

 5                                              ELISE C. BODDIE
                                                Principal Deputy Assistant Attorney General
 6                                              Civil Rights Division

 7                                              /s/ Emily R. Brailey
                                                T. CHRISTIAN HERREN, JR.
 8                                              RICHARD A. DELLHEIM
                                                EMILY R. BRAILEY
 9                                              JENNIFER J. YUN
                                                Attorneys, Voting Section
10                                              Civil Rights Division
                                                U.S. Department of Justice
11                                              4CON – Room 8.1815
                                                950 Pennsylvania Avenue, NW
12                                              Washington, DC 20530

13
                                  CERTIFICATE OF SERVICE
14
     I hereby certify that on April 18, 2023, I electronically filed the foregoing with the Clerk
15
     of the Court using the CM/ECF system, which will send notification of this filing to
16
     counsel of record.
17
                                                /s/ Emily R. Brailey
18                                              Emily R. Brailey
                                                Civil Rights Division
19                                              U.S. Department of Justice
                                                950 Pennsylvania Ave, NW
20                                              Washington, DC 20530
                                                (202) 353-5724
21                                              Emily.Brailey@usdoj.gov

22
